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 5
       Attorney for Defendant
 6     PETER HALAMANDARIS
 7
                     UNITED STATES DISTRICT COURT FOR THE
 8
                         EASTERN DISTRICT OF CALIFORNIA
 9
10     UNITED STATES OF AMERICA,  )            Case No. 08 CR 201 OWW
                                  )
11          Plaintiff,            )
                                  )            ORDER REGARDING EX-PARTE
12          vs.                   )            MOTION FOR MODIFICATION OF
                                  )            PRE-SENTENCE RELEASE
13     PETER HALAMANDARIS,        )
                                  )
14          Defendant.            )
       ___________________________)
15
             After hearing on the matter on October 8, 2009, good
16
       cause appearing,
17
             IT IS ORDERED that the Defendant Peter Halamandaris,
18
       #7012232 be released from the Fresno County Jail on November
19
       12, 2009, at 8:00 a.m. four days prior to the November 16,
20
       2009, commencement of his civil trial in Halamandaris v.
21
       Sephos,    San   Joaquin   County       Superior   Court   case   number
22
       CV023970. Defendant Peter Halamandaris shall return to custody
23
       and surrender himself on the day the jury reaches a verdict,
24
       or the trial has otherwise concluded.
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                                           1
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 1
 2     IT IS SO ORDERED.
 3
 4
       Dated: October 23, 2009            /s/ OLIVER W. WANGER
 5
                                          United States District Judge
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